                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                               Case No. 05-CR-213

ROBERT CHAMBERS
             Defendant.


                            SENTENCING MEMORANDUM

      Defendant Robert Chambers conspired to distribute five grams or more of cocaine

base in the form of crack cocaine. 18 U.S.C. §§ 841(a)(1) & (b)(1)(B). He pleaded guilty,

and the probation office prepared a pre-sentence report (“PSR”) in anticipation of

sentencing. Without objection, the PSR set his offense level at 29 (base level 32, U.S.S.G.

§ 2D1.1(c)(4), minus 3 for acceptance of responsibility, § 3E1.1), and his criminal history

category at III, producing an imprisonment range of 108-135 months under the advisory

sentencing guidelines.

      I set forth the reasons for the sentence imposed in this memorandum.

                              I. SENTENCING FACTORS

      In imposing sentence, the court must consider the factors set forth in 18 U.S.C. §

3553(a), which include:

      (1)    the nature and circumstances of the offense and the history and
             characteristics of the defendant;

      (2)    the need for the sentence imposed–

             (A) to reflect the seriousness of the offense, to promote respect for the law,
             and to provide just punishment for the offense;



Case 2:05-cr-00213-LA       Filed 02/27/06    Page 1 of 5    Document 153
              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

After considering all of the above circumstances, the statute directs the court to impose a

sentence sufficient but not greater than necessary to comply with the purposes of

sentencing set forth in § 3553(a)(2).

                                    II. DISCUSSION

A.     Nature of Offense

       Defendant obtained crack cocaine in distribution level amounts (usually one ounce)

from Donte Jordan, a large-scale dealer, from February 2005 to March 15, 2005, when

Jordan was arrested. Jordan usually fronted the crack to defendant, and he received $750

per ounce in payment after defendant sold it to his own customers. At the time of Jordan’s

arrest, defendant owed Jordan $1800 for two ounces of crack. The parties estimated that

the total weight involved was at least 100 grams, a fairly significant amount. However,

defendant was involved with the conspiracy for a relatively brief period, and there was no

indication of weapon possession, violence or threats, so the offense was not aggravated.

It also appeared that defendant was not a higher-up in this conspiracy.


                                              2


Case 2:05-cr-00213-LA       Filed 02/27/06    Page 2 of 5    Document 153
B.     Character of Defendant

       Defendant was 28 years old, with prior convictions for marijuana possession and

delivery, and operating after revocation (“OAR”), as well as two juvenile adjudications.

Until recently he had not held a job for any significant period of time. According to the

PSR, he worked for about nine different employers for terms ranging from a few months

to a few days. The fact that he dropped out of high school likely diminished his prospects.

       There were positive aspects to his character, however. He made efforts to obtain

his GED at Milwaukee Area Technical College. For the five months preceding sentencing

he held a job as a laborer at Sav-A-Lot Home Repair, and his supervisor stated that he was

a good employee. He had been in a relationship with the same woman for about 10 years

and had two children with her, ages three years and three months. His girlfriend stated

that he was a good father, and that he cared for her and the children when she developed

heart problems. He had another son, age 11, from a previous relationship and although

he owed a significant amount of back child support he was involved in his son’s life.

Defendant complied with the conditions of pre-trial release, and all drug tests were

negative. Finally, I noted that defendant attempted to cooperate with the government in

this matter.

C.     Defendant’s Correctional Needs, and Needs of Public and Victims

       There was no indication that defendant was physically dangerous, but there was

some risk of recidivism given his record. There was also a need for a substantial period

of confinement to reflect the seriousness of the offense, promote respect for the law,

provide just punishment, and deter others. Defendant did have educational needs and



                                             3


Case 2:05-cr-00213-LA       Filed 02/27/06    Page 3 of 5    Document 153
substance abuse issues, which I attempted to deal with through recommendations to the

Bureau of Prisons and conditions of supervised release. There was no way under the

circumstances to address them in the community. There was no restitution due.

D.     Consideration of Guidelines

       The guidelines called for a term of 108-135 months. I concluded that a sentence

within that range was somewhat greater than necessary to satisfy the purposes of

sentencing.    First, the range did not account for defendant’s positive personal

characteristics, including his recent employment and other pro-social conduct, the care and

support he provided for his girlfriend and children, and the positive character development

reflected in his attempts to cooperate with the government. See 18 U.S.C. § 3553(a)(1);

United States v. Ranum, 353 F. Supp. 2d 984, 986 (E.D. Wis. 2005). Second, the range

was enhanced by the inclusion of an OAR offense, for which defendant received a 30-day

jail sentence, which raised his criminal history category from II to III. Thirty day jail terms

are not common for OAR offenses in this state,1 and I concluded that increasing the

category based on this minor offense overstated his record. See 18 U.S.C. § 3553(a)(1)

& (5); U.S.S.G. § 4A1.3.       Third, I had previously sentenced two similarly situated

defendants in this case – Corey Hudson and Patrick Alexander – to 84 month terms.

Defendant seemed comparable to them, and I considered their sentences under §

3553(a)(6). In sum, I concluded that it was appropriate to, in effect, reduce the criminal

history category by one and the offense level by about 1 to account for all of these factors.



       1
       Such offenses score criminal history points only if the sentence was a term of
probation of at least one year or a term of imprisonment of at least 30 days. U.S.S.G. §
4A1.2(c)(1).

                                              4


Case 2:05-cr-00213-LA        Filed 02/27/06     Page 4 of 5    Document 153
                                   III. CONCLUSION

      Therefore, I committed defendant to the custody of the Bureau of Prisons for 84

months. I found this sentence sufficient but not greater than necessary under all of the

circumstances. I recommended any drug treatment and educational programs available,

including the 500 hour program. Based on his financial situation, I determined that

defendant did not have the ability to pay a fine and so waived the fine.

      Upon his release, I ordered him to serve a four year supervision term.           As

conditions, I ordered, inter alia, a drug aftercare program, a requirement that he pay any

child support arrearages and make regular payments, and that he obtain his GED or

HSED. Other terms of the sentence appear in the judgment.

      SO ORDERED.

      Dated at Milwaukee, Wisconsin, this 27th day of February, 2006.


                                         /s Lynn Adelman
                                         _____________________________
                                         LYNN ADELMAN
                                         District Judge




                                            5


Case 2:05-cr-00213-LA      Filed 02/27/06    Page 5 of 5    Document 153
